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6
                                                     THE HONORABLE BENJAMIN H. SETTLE
7
8                      IN THE UNITED STATES DISTRICT COURT
                 IN AND FOR THE WESTERN DISTRICT OF WASHINGTON
9
                                   AT TACOMA
10
     LARRY E. MULANAX, individually,             )
11                                               )   Case No. 17-cv-05915-BHS
12                        Plaintiff,             )
          vs.                                    )   PLAINTIFF’S AMENDED COMPLAINT FOR
13                                               )   PERSONAL INJURIES
14   STATE OF WASHINGTON,                        )
     DEPARTMENT OF CORRECTIONS,                  )   (JURY DEMAND)
15   ARTHUR     TORDINI,       personally,       )
16   MICHAEL TURPIN, personally, DIEGO           )
     LOPEZ de CASTILLO, personally, and          )
17   JOHN DOES 1-2, Inclusive,                   )
18                                               )
                            Defendants.          )
19
20         COMES NOW Plaintiff Larry E. Mulanax, through his counsel, the law office of

21   Khodr & Winkelhake, P.L.L.C., and brings this complaint for personal injuries against
22
     defendants alleging as follows:
23
24                                     I.     Introduction

25         1.1    This is a civil rights action also including claims of negligence against the

26   State of Washington, Department of Corrections and other individuals working within
27
     the Department of Corrections arising from the unlawful denial of medication and/or
28
29   timely medical care to Mr. Mulanax while confined within the Clallam Bay Corrections

30   Center. Mr. Mulanax was convicted of a crime and serving his sentence at the Clallam
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1    Bay Corrections Center and later transfer to the Monroe Correctional Complex. Upon
2
     arrival at the Clallam Bay Correctional Center, Mr. Mulanax completed a physical
3
     where the medical staff was put on notice of Mr. Mulanax’s medical history, including
4
5    heart attack, diabetes, hypertension and strokes for which Mr. Mulanax was prescribed
6
     medication. On January 3, 2014, Mr. Mulanax suffered a medical issue in the Clallam
7
     Bay Corrections Center and was treated at Forks Hospital. Thereafter, Mr. Mulanax
8
9    received follow-up treatment from the Clallam Bay Corrections Center medical staff.
10
           1.2    Several months later, the Clallam Bay Corrections Center stopped
11
     providing medication to Mr. Mulanax. Mr. Mulanax requested his medication several
12
13   times, but the medical staff, including, but not limited to Dr. Arthur Tordini and/or
14
     Michael Turpin, with deliberate indifference to Mr. Mulanax’s medical conditions
15
     refused to provide Mr. Mulanax with his medication. If not rising to the level of
16
17   deliberate indifference, the jail staff were negligent in their denial of medication to Mr.
18
     Mulanax.
19
           1.3    On or about August 12, 2014 at midnight, Mr. Mulanax was found lying
20
21   in his cell and allowed to stay there for several hours before being examined and/or
22
     transported to a hospital. Dr. Arthur Tordini and/or Michael Turpin and/or the medical
23
     staff’s denial of medication to Mr. Mulanax caused Mr. Mulanax to suffer a stroke. Dr.
24
25   Arthur Tordini and/or Michael Turpin and/or the medical staff’s failure to secure timely
26
     medical assistance for Mr. Mulanax caused the condition to worsen.
27
           1.4    After being treated for the stroke, Mr. Mulanax was transferred to the
28
29   Monroe Correctional Complex in the care of defendant Dr. Diego Lopez de Castilla.
30

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1    While at the Monroe Correctional Complex, Dr. Diego de Castillo with deliberate
2
     indifference to Mr. Mulanax’s medical needs failed to provide Mr. Mulanax necessary
3
     medical treatment, including but not limited to physical therapy, speech therapy,
4
5    occupational therapy and/or nutritional therapy. If not rising to the level of deliberate
6
     indifference the jail staff were negligent by failing to provide necessary medical
7
     treatment, including but not limited to physical therapy, speech therapy, occupational
8
9    therapy and/or nutritional therapy to Mr. Mulanax after his stroke
10
           1.5    Mr. Mulanax is now severely disabled for the rest of his life. As set forth
11
     in this complaint, the defendants are liable to Mr. Mulanax under federal and state law.
12
13                                         II.   Parties
14         2.1    Plaintiff, Larry Mulanax, was, at all times relevant to this matter, was an
15
     inmate within the Clallam Bay Corrections Center, the Monroe Correctional Complex
16
     and a citizen of the United States.
17
18         2.2    Defendant State of Washington, Department of Corrections, is the state
19
     agency responsible for administering adult corrections programs operated by the State
20
     of Washington, including operation of the state correctional institution Clallam Bay
21
22   Corrections Center and Monroe Correctional Complex. Department of Corrections is
23
     responsible for providing a “safe and healthy environment” for offenders within its
24
     prisons, including appropriate and necessary medical care.
25
26         2.3    Defendant Arthur Tordini was at all times herein an employee of the
27
     Washington Department of Corrections and was employed as a physician at the Clallam
28
     Bay Corrections Center. Dr. Tordini was responsible for providing medical treatment,
29
30   including prescription medication, evaluating and triage of plaintiff’s medical issues

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1    identified in this complaint. At all times relevant hereto, Dr. Tordini was considered a
2
     “Correctional Professional” and acting within the course and scope of his employment.
3
     All acts committed by defendant Tordini were committed under color of Washington law
4
5    and under the authority of his position within the Department of Corrections. Dr.
6
     Tordini is a named as a defendant in this matter in his personal capacity.
7
            2.4    Defendant Michael Turpin was at all times herein an employee of the
8
9    Washington Department of Corrections and was employed as a nurse at the Clallam
10
     Bay Corrections Center. Nurse Turpin was responsible for charting, evaluating and
11
     triage of the plaintiff’s medical issues identified in this complaint. At all times relevant
12
13   hereto, Mr. Turpin was considered a “Correctional Professional” and acting within the
14
     course and scope of his employment. All acts committed by defendant Turpin were
15
     committed under color of Washington law and under the authority of his position within
16
17   the Department of Corrections. Mr. Turpin is a named as a defendant in this matter in
18
     his personal capacity.
19
            2.5    Defendant Diego Lopez de Castilla was at all times herein an employee of
20
21   the Washington Department of Corrections and was employed as a physician at the
22
     Monroe Correctional Complex. Dr. Lopez de Castilla was responsible for providing
23
     medical treatment, including multiple forms of therapy, evaluating and triage of
24
25   plaintiff’s medical issues identified in this complaint. At all times relevant hereto, Dr.
26
     Lopez de Castilla was considered a “Correctional Professional” and acting within the
27
     course and scope of his employment. All acts committed by defendant Lopez de Castilla
28
29   were committed under color of Washington law and under the authority of his position
30

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1    within the Department of Corrections. Dr. Lopez de Castilla is a named as a defendant
2
     in this matter in his personal capacity.
3
           2.6      Defendant Does 1 through 2, inclusive, at this time they are unknown to
4
5    plaintiff, who therefore sue said defendants by such fictitious names and capacities and
6
     will ask leave to amend this complaint upon the same being ascertained. At all times
7
     relevant hereto, defendant Does 1 through 2, inclusive, were considered “Correctional
8
9    Professionals” and acting within the course and scope of their employment. All acts
10
     committed by defendant Does 1 through 2, inclusive, were committed under color of
11
     Washington law and under the authority of their position within the Department of
12
13   Corrections.
14
           2.7      Defendants, as the plaintiff’s jailors, owed the plaintiff, Larry Mulanax,
15
     the duty to keep him in health and free from harm, and for any breach of such duty
16
17   resulting in injury, the defendants are liable to the plaintiff. Gregoire v. City of Oak
18
     Harbor, 170 Wn.2d 628, 635, 244 P.3d 924 (2010) (En Banc). Each defendant failed and
19
     refused to perform such duty, thereby proximately causing the complained of injuries
20
21   to Mr. Mulanax.
22
                                   III.    Jurisdiction and Venue
23
           3.1      This Court has original subject matter jurisdiction over the plaintiff’s civil
24
     rights claims under 42 U.S.C. § 1983, pursuant to 28 U.S.C. § 1331 (federal question),
25
26   and 42 U.S.C. § 1343 (civil rights). The Court has supplemental jurisdiction over the
27
     plaintiff’s related state claims pursuant to 28 U.S.C. § 1367(a).
28
29
30

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1          3.2    Venue is proper in this jurisdiction under 28 U.S.C. § 1391(b) because all
2
     of the events that support plaintiff’s allegations occurred in this judicial district and
3
     because the defendants reside in this judicial district.
4
5                                       IV.    Factual Allegations
6          4.1    Plaintiff, Larry E. Mulanax, is an adult male who suffers from heart
7
     attack, diabetes, hypertension and strokes among other medical conditions requiring
8
9    medical treatment and medication.
10         4.2    Mr. Mulanax has previously been hospitalized for his medical conditions
11
     and has since been prescribed medications to control his medical condition.
12
13         4.3    On March 6, 2012, Mr. Mulanax was convicted of a drug charge and
14   sentenced to serve time in prison for his crimes. Mr. Mulanax was transferred to the
15
     State of Washington Department of Corrections’ Clallam Bay Corrections Center, in
16
17   Clallam Bay, Washington to serve his sentence.
18         4.4    Clallam Bay Corrections Center is an institution and correctional facility
19
     within the meaning of 42 U.S.C. § 1997(1). Persons confined therein include sentenced
20
21   inmates.
22         4.5    On March 9, 2012, Mr. Mulanax completed a physical where the medical
23
     staff was put on notice of his medical history, which included heart attack, diabetes,
24
25   hypertension and strokes. Mr. Mulanax was receiving prescribed medication for his
26   medical condition.
27
           4.6      On or about January 3, 2014, Mr. Mulanax suffered a medical issue in
28
29   the Clallam Bay Corrections and was treated at Forks Hospital. Mr. Mulanax received
30   follow up treatment with the Clallam Bay Corrections Center medical staff. The jail
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1    staff, although already aware of Mr. Mulanax’s medical history, was reminded of Mr.
2
     Mulanax’s medical history including heart attack, diabetes, hypertension and strokes
3
     for which Mr. Mulanax was prescribed medication to treat the same.
4
5          4.7    Several months later, the Clallam Bay Corrections Center stopped
6
     providing medication to Mr. Mulanax. Mr. Mulanax requested his medication several
7
     times, but the medical staff with deliberate indifference to his medical conditions
8
9    refused to provide Mr. Mulanax with his medication. In failing to provide medication
10
     for Mr. Mulanax, defendants Dr. Arthur Tordini, Michael Turpin, and/or DOES 1
11
     through 2, inclusive, acted intentionally, knowingly, maliciously and/or in reckless
12
13   disregard for Mr. Mulanax’s well-established rights and demonstrated a deliberate
14
     indifference to his serious medical needs under the Eighth and/or Fourteenth
15
     Amendments to the United State Constitution. If not rising to the level of deliberate
16
17   indifference, the jail staff were negligent in failing to provide medication for Mr.
18
     Mulanax and are liable for Mr. Mulanax’s injuries.
19
           4.8    It was foreseeable that the failure to provide medication to Mr. Mulanax
20
21   would cause harm to Mr. Mulanax.
22
           4.9    On or about August 12, 2014, at midnight, the denial of medication caused
23
     Mr. Mulanax to suffer a stroke. Mr. Mulanax was found lying in his cell and allowed to
24
25   stay there for several hours before being examined and/or transported to a hospital,
26
     which caused the condition to worsen. In failing to secure timely medical assistance for
27
     Mr. Mulanax, defendant Dr. Arthur Tordini, Michael Turpin and/or DOES 1 through 2,
28
29   inclusive, acted intentionally, knowingly, maliciously and/or in reckless disregard for
30

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1    Mr. Mulanax’s well-established rights and demonstrated a deliberate indifference to his
2
     serious medical needs under the Eighth and/or Fourteenth Amendments to the United
3
     State Constitution. If not rising to the level of deliberate indifference, the jail staff were
4
5    negligent in failing to secure timely medical assistance to Mr. Mulanax and are liable
6
     for Mr. Mulanax’s injuries.
7
            4.10   It was foreseeable that the failure to timely provide medical assistance to
8
9    Mr. Mulanax would cause harm to Mr. Mulanax.
10
            4.11   The Department of Corrections Clallam Bay Corrections Center had not
11
     properly trained its staff to provide medication and/or respond to medical emergencies
12
13   to address and treat Mr. Mulanax’s stroke in a timely manner. Instead, Mr. Mulanax
14
     was left on the cell floor for several hours before receiving emergency medical treatment.
15
     The delay in providing emergency medical treatment to Mr. Mulanax after having a
16
17   stroke caused the condition to worsen.
18
            4.12   The actions of the “Corrections Professionals”, including Dr. Tordini,
19
     Michael Turpin and/or DOES 1 through 2 inclusive, were carried out in accordance with
20
21   the official policies, procedures, customs, and practices of the Department of Corrections
22
     Clallam Bay Corrections Center. Such policies, procedures, customs, and practices
23
     caused injuries to Mr. Mulanax.
24
25          4.13   Mr. Mulanax, after having been denied his medication that caused him to
26
     suffer a stroke on August 12, 2014, was additionally injured when Dr. Tordini, Michael
27
     Turpin and/or other the Corrections Professionals failed to secure timely medical
28
29   assistance.
30

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1           4.14   Mr. Mulanax, when finally receiving medical treatment, was thereafter
2
     transferred to the Monroe Correctional Complex under the care of Dr. Diego Lopez de
3
     Castillo. While there Dr. Lopez de Castillo, was Mr. Mulanax’s attending physician.
4
5    Dr. Lopez de Castillo denied Mr. Mulanax therapeutic treatment, including but not
6
     limited to physical therapy, speech therapy, occupational therapy and/or nutritional
7
     therapy. By failing to provide therapeutic treatment to Mr. Mulanax, defendant Dr.
8
9    Lopez de Castilla and/or DOES 1 through 2, inclusive, acted intentionally, knowingly,
10
     maliciously and/or in reckless disregard for Mr. Mulanax’s well-established rights and
11
     demonstrated a deliberate indifference to his serious medical needs under the Eighth
12
13   and/or Fourteenth Amendments to the United State Constitution. If not rising to the
14
     level of deliberate indifference, jail staff were negligent by failing to provide therapeutic
15
     treatment to Mr. Mulanax after his stroke and are liable for Mr. Mulanax’s injuries.
16
17          4.15   Mr. Mulanax is now severely disabled for the rest of his life.
18
            4.16   Defendant Department of Corrections are charged with the responsibility
19
     of operating, administering and supervising the Clallam Bay Corrections Center and
20
21   Monroe Correctional Complex. With that responsibility comes the duties:
22
               1. Duty to keep Mr. Mulanax in health and free from harm by ensuring all
23
                   inmates receive appropriate and cost-effective emergency and necessary
24
25                 medical care;
26
               2. Section 3 of the Washington State Constitution, that no person be
27
                   deprived of life, liberty or property, without due process of law;
28
29
30

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1                3. Section 14 of the Washington State Constitution, that excessive bail shall
2
                    not be required, excessive fines imposed, nor cruel punishment inflicted;
3
                 4. To supervise and train personnel within the Department of Corrections as
4
5                   well as adopt policies, procedures, and standards that will not cause the
6
                    “Corrections Professionals”, to be deliberately indifferent to a detainee’s
7
                    serious medical needs, and/or inflict cruel and unusual punishment or the
8
9                   deprivation of due process; and
10
                 5. Other applicable laws and regulations.
11
           4.17     On May 30, 2017, plaintiff timely filed the Claim for Damages with the
12
13   State of Washington Department of Enterprise Services, thereby tolling the statute of
14
     limitations, and waited sixty (60) days before filing this complaint fulfilling all
15
     procedural requirements prior to filing this action under RCW 4.92 and RCW 7.70. A
16
17   copy of the above-referenced Claim for Damages, marked Exhibit A, was originally filed
18
     with the Complaint in the Thurston County Superior Court.
19
                                            V. Causation
20
           5.1      Mr. Mulanax has suffered damages as a result of his injuries.
21
22         5.2      A proximate cause of plaintiff’s injuries was the defendant State of
23
     Washington Department of Corrections Clallam Bay Corrections Center breaching its
24
     duty of care to Mr. Mulanax by failing to establish policies and procedures to provide
25
26   medication and/or render timely medical assistance to inmates with serious medical
27
     health needs as well as having medical staff competent to deal with the same.
28
           5.3      A proximate cause of plaintiff’s injuries was the defendant Department of
29
30   Corrections breaching its duty of care to Mr. Mulanax by negligently hiring, training,

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1    supervising and monitoring its personnel and failing to prevent incident like this from
2
     occurring.
3
            5.4    A proximate cause of plaintiff’s injuries was defendant Dr. Tordini, Mr.
4
5    Turpin and/or DOES 1 through 2, inclusive, failure to provide medication and/or secure
6
     timely medical assistance for Mr. Mulanax, demonstrated deliberate indifference to his
7
     serious medical health needs.
8
9           5.5    A proximate cause of plaintiff’s injuries was defendant Dr. Tordini, Mr.
10
     Turpin and/or DOES 1 through 2, inclusive, failure to provide medication and/or secure
11
     timely medical assistance for Mr. Mulanax demonstrated negligence with regard to his
12
13   medical health needs.
14
            5.6    A proximate cause of plaintiff’s injuries was defendant Dr. Lopez de
15
     Castillo and/or DOES 1 through 2, inclusive, failure to provide therapeutic treatment,
16
17   including but not limited to physical therapy, speech therapy, occupational therapy
18
     and/or nutritional therapy to Mr. Mulanax after he had suffered the stroke
19
     demonstrated deliberate indifference to his serious medical health needs.
20
21          5.7    A proximate cause of plaintiff’s injuries was defendant Dr. Lopez de
22
     Castillo and/or DOES 1 through 2, inclusive, failure to provide therapeutic treatment,
23
     including but not limited to physical therapy, speech therapy, occupational therapy
24
25   and/or nutritional therapy to Mr. Mulanax after he had suffered the stroke
26
     demonstrated negligence with regard to his medical health needs.
27
                    VI. State Claims Against the Department of Corrections
28
            6.1    Plaintiff repeats and re-alleges paragraphs 1.1 through 5.7 of the
29
30   complaint as if fully set forth herein.

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1          6.2    Defendant Department of Corrections by and through its agents owed a
2
     duty of care to Mr. Mulanax.
3
           6.3    Defendant Department of Corrections breached its duty when, among
4
5    other things, it failed to properly medicate and/or provide timely medical assistance for
6
     Mr. Mulanax’s medical needs, including his heart attack, diabetes, hypertension and
7
     history of strokes, in accordance with the standard of care.
8
9          6.4    Defendant Department of Corrections breached its duty when, among
10
     other things, it failed to provide therapeutic treatment, including but not limited to
11
     physical therapy, speech therapy, occupational therapy and/or nutritional therapy to
12
13   Mr. Mulanax after he had suffered the stroke, in accordance with the standard of care.
14
           6.5    Defendant Department of Corrections breached its duty when, among
15
     other things, it negligently hired, trained, supervised and monitored its personnel and
16
17   failed to create and implement proper policies and procedures to prevent incidents like
18
     this from occurring.
19
           6.6    Defendant Department of Corrections breached its duty through the
20
21   events described herein, and in other ways which have not been specifically
22
     enumerated, which may be unknown at this time, and/or which may be revealed
23
     through the course of discovery.
24
25         6.7    As a result of the allegations contained in this complaint, the Department
26
     of Corrections is liable to the plaintiff, Larry Mulanax, for his personal injuries, both
27
     physical and mental, which necessitated medical care and treatment; including severe
28
29   life-long disability as well as both physical and mental pain discomfort, loss of services,
30

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1    protection, care, assistance, society and expenses under state law for negligence,
2
     including vicarious liability for the acts of its agents, as well as negligent supervision
3
     and/or retention.
4
5           6.8    No federal claims are alleged against the Department of Corrections.
6
      VII. Claims Against Individually Named Defendants & DOES 1 through 2, Inclusive
7
            7.1    Plaintiff repeats and re-alleges paragraphs 1.1 through 5.7 of the
8
     complaint as if fully set forth herein.
9
10          7.2    As a result of the allegations contained in this complaint by denying
11
     medication and/or failing to secure timely medical assistance to Mr. Mulanax, Dr.
12
     Tordini, Michael Turpin and/or DOES 1 through 2, inclusive, are liable to the plaintiff
13
14   for his loss of income, services, protection, care, assistance, society and expenses under
15
     42 U.S.C. § 1983.
16
            7.3    As a result of the allegation contained in this complaint, if not rising to the
17
18   level of deliberate indifference, Dr. Tordini, Michael Turpin and/or DOES 1 through 2,
19
     inclusive, were negligent by denying medication and/or failing to secure timely medical
20
     assistance to Mr. Mulanax and are liable for Mr. Mulanax’s injuries.
21
22          7.4    As a result of the allegation contained in this complaint by denying Mr.
23
     Mulanax therapeutic treatment, including but not limited to physical therapy, speech
24
     therapy, occupational therapy and/or nutritional therapy after Mr. Mulanax had
25
26   suffered the stroke Dr. Lopez de Castilla and/or DOES 1 through 2, inclusive, are liable
27
     to the plaintiff for his loss of income, services, protection, care, assistance, society and
28
     expenses under 42 U.S.C. § 1983.
29
30

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1          7.5    As a result of the allegation contained in this complaint, if not rising to the
2
     level of deliberate indifference, Dr. Lopez de Castilla and/or DOES 1 through 2,
3
     inclusive, were negligent by denying Mr. Mulanax therapeutic treatment, including but
4
5    not limited to physical therapy, speech therapy, occupational therapy and/or nutritional
6
     therapy after Mr. Mulanax had suffered the stroke.
7
           7.6    As a result of the allegations contained in this complaint, Dr. Tordini, Mr.
8
9    Turpin and Dr. Lopez de Castilla and/or DOES 1 through 2, inclusive, and each of them,
10
     jointly and severally, plaintiff Larry Mulanax has: sustained personal injuries, both
11
     physical and mental, which necessitated medical care and treatment; including severe
12
13   life-long disability as well as both physical and mental pain, discomfort, and anguish;
14
     and has otherwise been humiliated and stripped of rights, liberties and freedoms
15
     guaranteed through the United States and Washington Constitutions.
16
17                                      IX. Prayer for Relief
18         WHEREFORE, the plaintiff prays that the Court award:
19
           A.     Compensatory damages for physical and emotional pain and suffering in
20
     an amount to be proven at trial;
21
22         B.     Economic damages in an amount to be proven at trial;
23
           C.     Medical expenses in an amount to be proven at trial;
24
           D.     Punitive damages in an amount to be proven at trial;
25
26   ///
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     ///
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     ///
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30

                                                             Khodr & Winkelhake, P.L.L.C.
      PLAINTIFF’S AMENDED COMPLAINT                                     Attorneys at Law
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                                                                   Telephone: (206) 384 -1886
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4
5          E.     Reasonable attorneys’ fees, costs and prejudgment interest incurred in
6
     pursuing this action as provided for in 42 U.S.C. § 1988; and
7
           F.     Any such other relief that this Court deems just and equitable.
8
9          DATED this 7th day of June, 2018.
10
                                                s/Aaron J. Winkelhake
11                                              Aaron J. Winkelhake, WSBA No. 32733
                                                Khodr & Winkelhake, P.L.L.C.
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          Case 3:17-cv-05915-BHS Document 31 Filed 07/11/18 Page 16 of 16




1
                                    CERTIFICATE OF SERVICE
2
3        I, Aaron J. Winkelhake, hereby certify that on July 11, 2018, I electronically
4
     filed the PLAINTIFF’S AMENDED COMPLAINT FOR PERSONAL INJURIES with the Clerk of
5
     the Court using the CM/ECF system, which will send notification of such filing to
6
7    The Honorable Benjamin H. Settle and the following at the e-mail addresses below:
8
               Daniel J. Judge at DanielJ@atg.wa.gov: Attorney for Defendants
9
       Dated this 11th day of July, 2018.
10
11                                           s/Aaron J. Winkelhake
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